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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA                   :
                                           :
     v.                                    :    No. 2:12-cr-00012-wks-2
                                           :
Haywood Mack                               :


                              OPINION & ORDER

     Defendant Haywood Mack is charged with knowingly and

intentionally conspiring to distribute twenty-eight grams or

more of cocaine base, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 841 (a)(1), 841 (b)(1)(B), and 846

(2006).     Mack filed a motion to suppress identification and a

motion to suppress certain statements he made on December 29,

2011.     The Government opposes both motions.        For the reasons

stated below, this Court denies both motions.

                             I.   FACTUAL SUMMARY

     William Parker was arrested and charged in Vermont Superior

Court with a narcotics offense in September 2011.             During an

interview, Parker advised officers that he had sold crack

cocaine, powder cocaine, and heroin in Burlington since June

2011.     Parker further stated that he and Mack reported to David

Clark, that Clark had been incarcerated in Vermont for selling

drugs in the past, and that Clark was in Vermont to check on

things.     Parker informed officers that Clark drove a silver
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Lincoln and had a criminal record in North Carolina.                Drug

enforcement agents in North Carolina confirmed Parker’s story.

     On November 7, 2011, officers stopped a silver Lincoln

sedan with a North Carolina license plate.             David Clark was

driving the vehicle.         Two days later officers stopped a white

Land Rover with New York plates registered to Sharon Mack.

David Clark was operating the Land Rover and Haywood Mack was in

the front passenger seat.         During a search of the vehicle,

Officers did not discover drugs or drug paraphernalia.

     On December 5, 2011, officers observed Mack in the Land

Rover outside the Anchorage Inn in South Burlington.                A short

while later, Parker arrived at the hotel and entered the Land

Rover.    Mack and Parker then made several short stops in and

around Burlington before returning to the Anchorage Inn.

Shortly after they returned to the hotel, Clark arrived in the

silver Lincoln.      When several marked cruisers arrived at the

hotel, Mack and Parker exited the vehicle and went into the

hotel and Clark drove off in the silver Lincoln.

     On December 13, 2011, officers followed the Land Rover from

Cherry Street in the vicinity of the Costello courthouse to the

La Quinta Inn on Williston Road.            Detective Merchand and

Sergeant Burke watched two women enter the hotel’s rear

entrance.     Sergeant Burke identified one of the women as Julie




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Sweeney.     Some ten minutes later the other woman exited the

hotel.    Merchand approached her as she left.

     The woman was Kamie Morrison.          Sitting in the passenger

seat of her vehicle, Merchand asked whether she purchased crack

cocaine in the room.         Morrison told him that she had not but

later admitted that she exchanged marijuana for crack cocaine.

Morrison said that Swiff (an alias for Parker) let her into the

hotel and took her to a room on the second floor.                There, she

observed several individually wrapped plastic baggies of crack

cocaine in the room, which she described as “ready to sell.”

She accurately identified the other woman in the room and stated

that there were two African American males in the room other

than Swiff.     She described the first man as a young African

American male; she knew the other man was “B-Low” (an alias for

Mack).    She described B-Low as an African American in his mid-

thirties with medium height and medium build.                At the December

11 hearing, she noted that the room was well lit.

     This was not the first time that Morrison met B-Low.                    At

the hearing, Morrison stated that she first met B-Low in the

Lowes parking lot in Essex, Vermont when she exchanged marijuana

for crack cocaine in the back of a car.           On another occasion,

she and B-Low smoked blunts in her bedroom.            Both times were

during daylight hours and both times she was within three feet

of B-Low.

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     At the end of her talk with Merchand, Morrison agreed to

make controlled purchases of crack cocaine from the three men in

the hotel room for monetary compensation.              The first controlled

exchange took place the following day, on December 14, 2011.

Morrison called B-Low with a number he had given her (802-310-

0575) at around 4:30 P.M.       The conversation went as follows:

     Morrison: “B-Low!”

     B-Low:       “What’s up baby?”

     Morrison: “Baby, it’s Kamie, I need to come get that
               ball 1 . . . can I come see you?”

     [The two negotiated a price for the ball.]

     B-Low:       “Listen, come by—you know where um the Barnes and
                  Noble is at on Dorset?”

     Morrison: “Yes.”

     B-Low:       “Alright, come there, my little home boy is gonna
                  get in the car with you and he’s gonna take care
                  of that.”

     Morrison: “Uh—do you trust this person? Who is he?”

     B-Low:       “He’s my partner! . . . He was with me the day I
                  met you. . . . He was the one you sat in the back
                  seat with.”

     Morrison: “Oh, the young kid. Okay.”

(“CI Call to Mack,” Ex. 1).

     Merchant provided Morrison with money to make the purchase

and a wire to record the conversation.             Morrison drove to the

Barnes and Noble.      A white Lincoln SUV with New York plates and


1. A “ball” is 3.5 ounces of crack cocaine.

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registered to Sharon Mack entered the parking lot.              A person

later identified as “Dolo” exited the front passenger side door

and entered Morrison’s car.

     Morrison completed the controlled purchase with Dolo.

Before he exited the vehicle, Dolo told her that “Bam” was

leaving and that he, Dolo, was in charge.          He gave her his

number and told her that he would be at the Anchorage hotel if

she needed anything.      Dolo returned to the Lincoln.          Morrison

called Merchant and left the parking lot, but before she could

get away, the Lincoln flashed her down.         She got out of the

vehicle and walked up to the driver’s window.              B-Low was driving

the Lincoln.   Claiming that the package was too heavy, B-Low

asked for fifty dollars more or for her to remove a piece from

the bag.   Morrison said that she would reimburse them later.

(“CI Buy from Daggs thru Mack,” Ex. 2).         B-Low agreed, and

Morrison drove back to the police station.

     After returning to the station, Morrison gave the crack

cocaine to law enforcement officers.        With packaging, the bag

she purchased weighed 2.3 grams.         Morrison then received a call

from B-Low, which officers recorded:

     Morrison: “Hello”

     B-Low:     “Hey baby.”

     Morrison: “Hey baby what’s up?”




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     B-Low:       “I was just calling to tell you [that] you don’t
                  owe me anything. That’s the hook up.”

     Morrison: “Thank you. My bad. My bad. I counted it in
               front of him. . . . Alright, baby. You’re good.
               I hope to see you soon.”

     B-Low:       “All you need to do is bring me that business.”

     Morrison: “Okay, but when do I see you again?”

     B-Low:       “I’ll be back in about two days, but it’s all the
                  same. That’s my boy.”

     Morrison: “I’ll see you in a couple of days.”

     B-Low:       “That’s me right there.     That’s me.”

     Morrison: “I got him.     I got him.     I got his number.”

     B-Low:       “Alright.   That’s me.    He’s up here with me.”

     Morrison: “Alright, I’ll talk to Dolo when I need him.”

     B-Low:       “And it will always be top of the line.”

(“Incoming Call Mack to CI Post Purchase,” Ex. 6).

     At the end of the phone call, Merchand showed Morrison a

single digital photo on his cell phone.        Morrison identified the

man depicted in the photograph as B-Low.        Merchand recorded the

identification:

     Merchand:    “Ms. Morrison did you recognize that subject?”

     Morrison:    “Yes, that was Bi-Low.”

(“CI ID of Mack Photo,” Ex. 4).

     On December 21, 2011, Morrison performed a second

controlled purchase of crack cocaine from Dolo.           The

conversation was recorded.     After the transaction, Morrison took

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Dolo to Price Chopper.        On the ride over, she asked when B-Low

was returning.      Dolo responded: “He is getting on our fucking

nerves.”     After some time, the topic of B-Low came up again:

     Morrison: “So is he coming up? . . . Will he call me when
               he gets here?”

     Dolo:         “Yeah, definitely. He’s getting on our
                   nerves. . . . He thinks he’s the boss and he’s
                   not the boss.”

     Morrison: “He’s not? I thought he was.”

     Dolo:         “The fuck he ain’t.”

     Morrison: “He acts like y’all are workin for
               him. . . . That’s what he told me.”

     Dolo:         “Reggie and Swiff, we got our own shit.             What the
                   hell is he talking about?”

     Morrison: “He told me that I didn’t have to deal with
               Reggie or Swiff anymore, that I could deal
               directly with him, which I’d rather not.”

     Dolo:         “That’s what we were just arguing about with him
                   on the phone, like ‘stop telling people that you
                   are the boss: You’re not the boss, bam. And
                   further, who wants the title of being the boss?
                   Police will get your ass Mr. Boss Man. . . . He
                   was doing that shit where we were from and girls
                   looking at him like he was dumb.”

(“Recording of Controlled Purchase,” Ex. 7).

     Dolo exited the vehicle at Price Chooper.               When he

returned, he and Morrison began discussing a person named,

“Bam.”

     Dolo:         “Oh man, yeah, Bam we was all arguing on the
                   phone with Bam—me and Swif was.”

     Morrison: “Bam?”

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Dolo:      “Yeah, Bam was like—“

Morrison: “I haven’t seen Bam in years.”

Dolo:      “[discussing what Bam said] ‘I think I need to
           come down and control things.’ I said, ‘we don’t
           need you down here.’”

Morrison: “Bam said that?”

Dolo:      “Yeah, I said ‘we don’t need you down here,
           man.’”

Morrison: “Bam going [to] fuck something up in a
          heartbeat.”

Dolo:      “Yeah, he will.”

Morrison: “I’m telling you.         How long have you known him?”

Dolo:      “Guess what Swiff told him on the phone. Swiff
           said, ‘the only thing you going to come down here
           and do is fuck up money and chase after chicks
           that don’t want to fuck you.’”

Morrison: “Bam’s not in Vermont anymore?”

Dolo:      “No.”

Morrison: “Uh, I haven’t seen—actually, it’s been a year,
          year and a half. He was living downtown—him and
          Jess were—they were just getting out of jail and—
          uh he’s a good shit.”

Dolo:      “You’re talking about the other Bam. You’re
           talking about B.”

Morrison: “No, I was just—where’s he live?”

Dolo:      “The one that thinks he is the boss.”

Morrison: “Oh, oh that one.”

Dolo:      “That B.”

Morrison: “Oh, ok, there’s two of them then.”

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     Dolo:       “I know.     I know the other one too.”

     Morrison: “You know the other one?”

     Dolo:       “Yes.     Thinks he controls me and Swiff.”

     Morrison: “Who, B? I just know him as B-Low, so B-Low and
               Bam are the same person?”

     Dolo:       “Yeah, it’s B-Low. Yeah. I’m Dolo he’s B-Low.”

(“Recording of Controlled Purchase,” Ex. 7).

     On December 29, 2012, Detective Merchand and other

Burlington police officers stopped a white Land Rover traveling

over the speed limit on I-89 between exits thirteen and

fourteen.    Mack was driving the Land Rover and Dain Blair was

the sole passenger.       The officer that stopped the vehicle

smelled marijuana.

     Merchand questioned Mack and Blair on the side of the road.

Mack told Merchand that he came to Vermont to visit a friend,

James Sanders.    Mack claimed that they planned to meet Sanders

at a gas station before going to a club.         He admitted that he

had smoked marijuana before driving.        Mack told Merchand that

the car was registered to his wife, a dispatcher for the New

York Police Department.       A drug-sniffing dog alerted Merchand to

the presence of narcotics in the vehicle.

     Merchand informed Mack that he was concerned that there may

be drugs in the vehicle.       He told Mack that he was going to call

a tow truck and apply for a search warrant.          Indignant, Mack

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reiterated that nothing was in the vehicle and invited Merchand

to search the car on the side of the road.

     Mack consented and told Merchand that he wanted to stay

with his vehicle.    Merchand repeatedly informed Mack and Blair

that they could walk away from the scene, that he could call

them a cab, that they could call themselves a cab, or that he

could give them a ride.      Before they left the scene, Merchand

obtained Mack’s and Blair’s contact information.             Mack quickly

gave Merchand his home number and one of his cell phone numbers,

but hesitated to give the number to his other cell phone.                  The

other number was 802-310-0575, the same number that Morrison

obtained from B-Low and used to make the first controlled

purchase.    When the tow truck arrived, Mack yelled “I’m not

under arrest,” and Merchand responded, “this is correct, you and

I know that.”

     After the tow truck arrived, Merchand, Mack, and Blair got

into the police car.      Merchand offered Mack the front seat.              He

told both men that the he was towing their car downtown, near

the clubs.    Excited, Mack asked whether he could walk to a club

while they searched the vehicle.         Merchand responded that if

they were going to leave the car he would need to obtain a

search warrant because Mack would not be able to revoke consent

if he was not with the vehicle.      Mack and Blair told Merchand

that they would not revoke, but Merchand insisted that he would

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have to obtain a warrant if they left.           Both men reiterated

their desire to remain with the vehicle.

     When they arrived at the station, Merchand left Mack,

Blair, and the microphone with Detective Young.              Detective Young

again told both men that they could revoke their consent and

leave at any time.       While Young was watching the men, Blair

twice referred to Mack as “Bam.”

     Merchand completed the search of the vehicle in less than

two hours.      He located some documents of little value and some

marijuana residue.       Mack and Blair left in the Range Rover.

(“Traffic Stop & Interaction with Mack,” Ex. 8).

                                 II.   DISCUSSION

                     A. Motion to Suppress Identification

     Mack first moves to suppress Morrison’s identification,

arguing that the out-of-court identification was so suggestive

that neither it nor an in-court identification may be admitted.

The Government concedes that showing Morrison one photo was

unduly suggestive, but argues that the identification is

admissible because it was nonetheless reliable.

     Prior identifications are generally admissible under

section 801(d)(1)(c) of the Federal Rules of Evidence.                However,

admitting unreliable identification testimony violates the Due

Process Clause.       Brisco v. Ercole, 565 F.3d 80, 88 (2d Cir.

2009).     The Due Process Clause requires that identification

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testimony be excluded “only if it was both produced through an

unnecessarily suggestive procedure and unreliable.            Even if the

procedure was unnecessarily (or impermissibly) suggestive,

therefore, a district court may still admit the evidence ‘if

when viewed in the totality of the circumstances, it possess

sufficient indicia of reliability.’” United States v. Bautista,

23 F.3d 726, 729–30 (2d Cir. 1994) (emphasis in original)

(quoting United States v. Simmons, 923 F.2d 934, 950 (2d. Cir.

1991)).

     Courts determine the admissibility of identification

testimony by making two inquires.        First, courts must determine

whether the identification followed unduly and unnecessary

suggestion that the defendant was the perpetrator.            Brisco, 565

F.3d at 88.   “[A]n identification procedure may be deemed unduly

and unnecessarily suggestive if it is based on police procedures

that create ‘a very substantial likelihood of irreparable

misidentification.’”      Id. (citing Simmons v. United States, 390

U.S. 377, 384 (1968)).     Absent exigent circumstances, an

identification based on the display of a single photograph is

considered unduly suggestive.      Wiggins v. Greiner, 132 Fed.

App’x. 861, 864 (2d Cir. 2005) (“[T]his court has ‘consistently

condemned the exhibition of a single photograph as a suggestive

practice, and where no extenuating circumstances justify the




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procedure, as an unnecessarily suggestive one.’”) (quoting

Mysholowsky v. People, 535 F.2d 194, 197 (2d Cir. 1976)).

     If the procedures were not unduly and unnecessarily

suggestive, courts need not consider the second inquiry because

“the identification presents no due process obstacle to

admissibility.”    Brisco, 565 F.3d at 88 (internal quotation and

citation omitted).    However, if the procedures were suggestive

courts must consider whether the identification was nonetheless

reliable.   Id.   In ascertaining whether identification testimony

is nonetheless reliable, courts continue to look to the factors

outlined in Neil v. Biggers:

     [1] the opportunity of the witness to view the
     criminal at the time of the crime, [2] the witness’
     degree of attention, [3] the accuracy of the witness’
     prior description of the criminal, [4] the level of
     certainty demonstrated by the witness at the
     confrontation, and [5] the length of time between the
     crime and the confrontation.

409 U.S. 188, 199–200 (1972).

     The Government concedes that Morrison’s out-of-court

identification was unnecessarily suggestive, so the Court

must consider whether the identification was independently

reliable.

     Three of the five factors clearly suggest that there

was not a high likelihood of misidentification.           First,

Morrison had several opportunities to view Mack in broad

daylight and at close range.      See Dunningham v. Keane, 137

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F.3d 117, 129 (2d Cir. 1998) (finding an identification

reliable in part because the witness first saw the

defendant in broad daylight from five feet away).            Second,

Morrison purchased drugs from Mack; she was not a casual

observer.    Id. (finding it relevant that witness was more

than just a casual observer).      Her attentiveness during the

first controlled purchase would have been heightened

because she was there solely to complete the transaction.

Further, she noted at the hearing that she, as an addict,

closely observed her suppliers’ faces.        Morrison identified

Mack in the photo only moments after the first controlled

purchase at the Barnes and Noble and a day after exchanging

marijuana for crack in the La Quinta.        Id. (finding a

three-day period between the identification and the crime

short). Accordingly, three of the five factors are

satisfied.

     Mack’s challenge to the reliability of the

identification primarily focuses on the third and fourth

factors.    Mack argues that the third factor was not

satisfied because Morrison’s description omitted the scar

on Mack’s face.    Accurate, though general, descriptions are

sufficient to satisfy the third factor.         United States v.

Brownlee, 454 F.3d 131, 140 (3rd Cir. 2006) (finding

description of the defendant accurate even though it was

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general); see also Clark v. Kuhlmann, 123 Fed. App’x 24, 26

(2d Cir. 2005) (finding witness’ description of the

defendant sufficient even though witness misidentified the

defendant as Hispanic).       Morrison identified Mack as an

African American male of medium height and medium build.

Though vague, this is a fairly accurate description: Mack

is approximately 5’11” and weighs 220 pounds.              The Court

finds little significance in Morrison’s failure to mention

Mack’s scar.   Accordingly, her failure to identify the scar

is not the type of omission that would undercut the

reliability of her description.       This Court finds

Morrison’s description sufficiently accurate.

     Making much out of the fact that Morrison pronounced

the man in the picture’s name as “Bi-low” instead of “B-

Low” and misunderstood Dolo’s reference to “Bam” during the

second controlled purchase, Mack contends that the fourth

factor was not met.       At the hearing Morrison blamed her

lingering southern accent for identifying the man in the

picture as “Bi-Low” rather than “B-Low.”          She clarified

that she meant “B-Low.”       The Court accepts that Morrison’s

southern drawl added the extra vowel to her first

identification.    Misunderstanding Dolo’s reference to

“Bam,” in no way undercuts Morrison’s December 14

identification.    It is apparent that Mack goes by “B-Low”

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and “Bam” and that Mack shares “Bam” with another Vermont

dealer.   Neither Morrison’s accent nor her misunderstanding

discredited her identification.      Morrison immediately and

unequivocally identified the man in the picture.             At the

hearing she stated that she was one hundred percent certain

that she correctly identified Mack.        Accordingly, the

fourth factor is satisfied.

     In sum, while the single photograph may have been

suggestive, it does not raise a substantial likelihood of

misidentification because there is considerable evidence

that the identification was independently reliable.

Accordingly, Mack’s motion to suppress the identification

is denied.

                    B. Motion to Suppress Statements

     Mack urges this Court to suppress his statements following

the December 29 traffic stop.      Specifically, Mack contends that

Merchand coerced his consent and decision to remain with the

vehicle, and, therefore, his subsequent statements must be

suppressed.

     Consent is one of several exceptions to the Fourth

Amendment’s warrant requirement.         Schneckloth v. Bustamonte, 412

U.S. 218, 219 (1967).     However, to be effective, consent must be

voluntary.    Id. at 248 (“The Fourth and Fourteenth Amendments

require that [the Government] demonstrate that the consent was

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in fact voluntarily given, and not the result of duress or

coercion, express or implied.”).         The voluntariness of consent

is determined by inquiry into the totality of the circumstances.

Id. at 248–249.    Advising a defendant that a warrant could be

obtained if consent is withheld does not vitiate a later consent

if the officer had a well-founded belief that probable cause

existed.   See, e.g., United States v. Calvente, 722 F.2d 1019,

1023 (2d Cir. 1983) (finding consent voluntary because “advising

a person of the fact that a search warrant can be obtained does

not constitute coercion”); United States v. Faruolo, 506 F.2d

490, 493–95 (2d Cir. 1974).

     There was sufficient evidence for Merchand to obtain a

warrant.   Merchand smelled marijuana emanating from the vehicle,

the motorists admitted to smoking marijuana, and a drug-sniffing

dog reacted to the vehicle.      Accordingly, Merchand had a well-

founded belief that he had probable cause to obtain a warrant,

and, therefore, his initial claim that he would seek a warrant

if consent was withheld did not render Mack’s consent

involuntary.

     Mack’s argument does not end there, though.             Citing Untied

States v. Place, 462 U.S. 696 (1983), Mack argues that Merchand

coerced his consent and decision to remain with the vehicle by

fabricating the choice between consenting and remaining with the




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vehicle while officers completed a search or withholding consent

and being deprived of his vehicle for more than a day.

     In Place, agents at LaGuardia Airport informed Place that

they believed he was carrying narcotics. Id. at 698–99.               Place

refused the agents’ request to search his luggage, so the agents

seized his luggage, told him that they would attempt to obtain a

warrant, and asked him whether he wanted to accompany them to

the magistrate.    Id.    Place declined, and the agents took the

luggage to John F. Kennedy International Airport to subject it

to a dog sniff; the dog indicated the presence of narcotics.

Id. at 699.    Ninety minutes elapsed and it became too late to

obtain a warrant.    Id.    The agents held the bags over the

weekend, obtained a warrant Monday morning, and discovered

cocaine in one of the bags.       Id.

     Place argued that the warrantless seizure of his bags on

reasonable suspicion violated his Fourth Amendment rights.                  Id.

The Supreme Court held that the Fourth Amendment did not prevent

seizure of travelers’ luggage on less than probable cause;

however, the Court found that the seizure of Place’s luggage for

ninety minutes was unreasonable.          Id. at 709–710.      The Court

found relevant the agents’ failure to keep Place informed about

the process.    Id. at 710.

     Place is of little help to Mack.          First, in contrast to the

agents in Place, Merchand had more than a reasonable suspicion

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that the vehicle contained narcotics.        Second, and also in

contrast to Place, Mack consented to the search and decided to

remain with his vehicle.      Merchand and Young made it abundantly

clear that Mack was free to leave at any time.            Third, unlike

the agents in Place, Merchand kept Mack informed at every stage

of the process.    Accordingly, none of the Court’s reasoning in

Place justifies suppression of Mack’s statements.

     Mack was not coerced into consenting to the search or

remaining with the vehicle.      Merchand had a well-founded belief

that he had probable cause to obtain a warrant.            Nothing

suggests that Merchand acted in bad faith when he told Mack that

he would have to hold the car overnight before applying for a

warrant, and holding the car overnight would not have been

unreasonable.   Chambers v. Maroney, 399 U.S. 42, 50 (1970)

(finding that when police have probable cause, they may “seize[]

and [hold the car] without a warrant for whatever period is

necessary to obtain a warrant for the search”).            Most

importantly, Merchand and Young repeatedly informed Mack that he

could leave at any time.      At all times, Merchand chose to remain

with the vehicle.    Under these circumstances, this Court cannot

conclude that Merchand coerced Mack into remaining with the

vehicle.   Accordingly, Mack’s Motion to Suppress Statements is

denied.




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                              III. CONCLUSION

     For the above reasons, this Court denies Mack’s motion to

suppress identification and motion to suppress statements.

     Dated at Burlington, in the District of Vermont, this 11th

day of January, 2013.

                                         _/s/William K. Sessions III_
                                         William K. Sessions III
                                         U.S. District Court Judge




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